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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )
                                            )                  8:06CR243
      vs.                                   )
                                            )                    ORDER
JAMARR HOLIDAY,                             )
                                            )
                    Defendant.              )



      This matter is before the court on defendant's unopposed M OTION FOR ENLARGE
MENT OF TIME TO FILE PRETRIAL MOTIONS [52]. For good cause shown, I find that the motion
should be granted. The defendant will be given an approximate 30-day extension.
Pretrial Motions shall be filed by December 13, 2006.

      IT IS ORDERED:

        1.    Defendant's MOTION FOR ENLARGEMENT OF TIME TO FILE PRETRIAL MOTIONS
[52] is granted. Pretrial motions shall be filed on or before December 13, 2006.

      2.     Defendant is ordered to file a waiver of speedy trial as soon as practicable.

       3.      The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between November
13, 2006 and December 13, 2006, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason
defendant's counsel required additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).

      DATED this 14th day of November, 2006.

                                         BY THE COURT:


                                         s/ F.A. Gossett
                                         United States Magistrate Judge
